         Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

   v.                                                  Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.



   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE
       TO EXCLUDE ANTICIPATED TESTIMONY BY SARA NELSON

        Pursuant to Federal Rules of Evidence 402 and 701 and the doctrine of implied waiver,

Plaintiffs respectfully ask this Court to exclude testimony of Sara Nelson, the president of the

Association of Flight Attendants-CWA, AFL-CIO (“AFA-CWA”), concerning purported

benefits of Defendants’ proposed acquisition and the AFA-CWA’s opinion of it. The AFA-

CWA’s constituents include Spirit flight attendants, and Plaintiffs expect, based on Ms. Nelson’s

deposition testimony, that much of her trial testimony will relate to the AFA-CWA’s public

support for the proposed acquisition—support secured after Defendants’ promise to provide

concessions to AFA-CWA. Ms. Nelson should be precluded from testifying about those

concessions or offering any opinion about the acquisition based on those concessions because

(1) the concessions are irrelevant, as demonstrated more fully in Plaintiffs’ separate motion in

limine regarding purported out-of-market benefits, (2) Ms. Nelson waived the ability to offer any

such opinion because she has claimed privilege over a principal basis for that opinion, namely an




                                                 1
         Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 2 of 9




economic analysis that AFA-CWA conducted of a JetBlue-Spirit merger, and (3) opinion

testimony by Ms. Nelson would not comply with Federal Rule of Evidence 701.

                                         BACKGROUND

       In her deposition, Ms. Nelson testified about certain labor concessions that JetBlue

promised and Spirit made to Spirit flight attendants in exchange for AFA-CWA’s support of the

proposed acquisition. Transcript of Deposition of Sara Nelson (Jun. 20, 2023) (“Nelson Dep.

Tr.”) 52:2-9, 54:16-25. Namely, she testified that JetBlue agreed to “no displacements, no

furloughs, an expedite[d] contract bargaining, [and] all of the support that [the union] need[s] in

a seniority integration” Id. at 26:20-28:10, 69:13-25, if the proposed acquisition closes, and

Spirit agreed to make “scheduling improvements” and pay flight attendants more prior to the

deal closing, which AFA-CWA thinks would provide a “higher floor to negotiate from” if the

deal closes. Id. at 53:10-54:14. Ms. Nelson made clear that these concessions were

“fundamental” and “critically important” to AFA-CWA’s opinion that the proposed merger

would be beneficial, and that AFA-CWA would not have supported the merger absent these

concessions. Id. at 54:16-55:3.

       Ms. Nelson also testified that AFA-CWA performed an economic analysis in forming its

opinion that the JetBlue-Spirit merger would be beneficial. Id. at 62:21-23. Though that analysis

forms the basis of AFA-CWA’s opinions about the proposed acquisition, Ms. Nelson declined to

testify about its substance on privilege grounds. Id. at 62:24-63:12. Even so, Ms. Nelson clarified

that the economic analysis AFA-CWA performed did not evaluate the impact the merger would

have on consumers, including the impact it would have on consumer airfares. Id. at 63:14-19.

       Notably, Ms. Nelson’s testimony also made clear that JetBlue’s commitments concerning

Spirit flight attendants are far from certain. JetBlue’s current flight attendants belong to a



                                                  2
         Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 3 of 9




different union, the Transport Workers Union (“TWU”), which opposes the proposed deal. Id. at

35:24-36:5; 37:12-17. And whether AFA-CWA or TWU would represent flight attendants for

the proposed combined entity is an open question. Id. at 48:21-50:1.

        Moreover, Ms. Nelson testified about numerous subjects for which she does not have

personal knowledge. For example, Ms. Nelson made broad, blanket assertions regarding

JetBlue’s organic growth plan and how that growth plan affects competition with other airlines,

id. at 19:12–18, and the ability of other airlines to compete with legacy airlines, id. at 19:6-11.

But Ms. Nelson later admitted that she did not have familiarity with the specifics of JetBlue’s

aircraft acquisition plans (other than the basic fact that such plans exist), the specifics of Spirit’s

acquisition plans (other than that Spirit “has a large number of aircraft on order”), JetBlue’s

growth strategy absent the acquisition, or JetBlue’s integration strategy related to the acquisition

(other than general awareness regarding the integration’s timeline and impact on flight

attendants). Id. at 65:7–67:11. Nor was Ms. Nelson able to “speak with any sort of level of

confidence” regarding Spirit’s growth strategy absent the acquisition by JetBlue. Id. at 66:7–11.

                                       LEGAL STANDARD

        “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. To be relevant, evidence must

have “any tendency to make a fact more or less probable than it would be without the evidence”

and the fact must be “of consequence in determining the action.” Fed. R. Evid. 401. The Court

has “considerable discretion in making relevancy determinations and in excluding evidence for

lack of relevance.” United States v. Vásquez-Botet, 532 F.3d 37, 50 (1st Cir. 2008). It is well

within the Court’s discretion to exclude legally irrelevant evidence before trial through a motion

in limine. Fed. Refinance Co. v. Klock, 352 F.3d 16, 25 (1st Cir. 2003) (affirming exclusion of

testimony at a bench trial through motion in limine because subject of testimony “was legally



                                                   3
        Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 4 of 9




irrelevant”); see also Jonasson v. Lutheran Child & Fam. Servs., 115 F.3d 436, 440 (7th Cir.

1997) (finding it especially appropriate to exclude legally irrelevant evidence through a motion

in limine because the purpose of such motions is to “perform[] a gatekeeping function and

permit[] the trial judge to eliminate from further consideration evidentiary submissions that

clearly ought not be presented . . . because they clearly would be inadmissible for any purpose”).

       “A litigant cannot use the attorney-client privilege as both a ‘sword and shield by

selectively using the privileged documents to prove a point but then invoking the privilege to

prevent an opponent from challenging the assertion.’” Rivera v. Kmart Corp., 190 F.R.D. 298,

304 (D.P.R. 2000) (quoting Frontier Refining, Inc. v. Gorman-Rupp Co., Inc., 136 F.3d 695, 704

(10th Cir. 1998)). This rule “ensures fairness” because “[w]ere the law otherwise, [a party] could

selectively disclose fragments helpful to its cause, entomb other (unhelpful) fragments, and in

that way kidnap the truth-seeking process.” In re Keeper of the Records (Grand Jury Subpoena

Addressed to XYZ Corp.), 348 F.3d 16, 24 (1st Cir. 2003). Therefore, when a party puts forth a

contention that is “enmeshed in important evidence that will be unavailable to [the other side] if

the privilege prevails,” the party impliedly waives its ability to make that contention or waives

privilege over the subject-matter of the contention. Greater Newburyport Clamshell All. v. Pub.

Serv. Co. of N.H., 838 F.2d 13, 20 (1st Cir. 1988); see also Troublé v. Wet Seal, Inc., 179 F.

Supp. 2d 291, 304 (S.D.N.Y. 2001) (holding that defendant “waived any available advice of

counsel defense by objecting, based on the attorney-client privilege, to [plaintiff’s] discovery

requests”).

       Lay witnesses may offer opinion testimony only if the testimony satisfies certain

conditions, including that the opinion is both “helpful to clearly understanding the witness’s

testimony or to determining a fact in issue,” and “not based on scientific, technical, or other



                                                 4
          Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 5 of 9




specialized knowledge.” Fed. R. Evid. 701. A party may not evade the reliability requirements

imposed on expert witnesses in Federal Rule of Evidence 702 “through the simple expedient of

proffering an expert in lay witness clothing.” Roach v. Middleton Auto Sales, Inc., 623 F. Supp.

2d 139, 145 n.11 (D. Mass. 2009) (Young, J.) (quoting 2000 Amendments to Fed. R. Evid. 701).

                                          ARGUMENT

   I.         Testimony About Purported Labor Benefits Is Irrelevant To The Issues To Be
              Resolved In This Trial

         Ms. Nelson’s testimony about the purported benefits of the proposed acquisition is a

classic example of an attempt to justify harm to one market (airline consumers) based on

purported benefits to a different market (airline employees). For the reasons described in

Plaintiffs’ separate motion in limine regarding purported out-of-market benefits, incorporated

here by reference, the purported benefits of a merger to a market where harm is not alleged are

irrelevant as a matter of law. The Seventh Circuit recently made the same point in an analogous

situation: benefits to consumers (one market) cannot justify harm to workers (another market).

Deslandes v. McDonald’s USA, LLC, -- F.4th --, 2023 WL 5496957, at *2 (7th Cir. Aug. 25,

2023) (Easterbrook, J.). Here, the Amended Complaint does not allege any harm in labor

markets. See Amended Compl. ¶¶ 61- 72 (ECF 69). Therefore, Ms. Nelson should be precluded

from offering irrelevant testimony about Defendants’ labor concessions or offering any opinion

of the proposed acquisition based on such irrelevant concessions.

   II.        The Court Should Preclude Ms. Nelson From Offering Any Opinion About The
              Proposed Merger

         A.      Ms. Nelson’s Selective Reliance on a Purportedly Privileged Economic
                 Analysis Waived Her Ability to Offer Any Opinion About the Proposed
                 Merger

         An independent basis to preclude Ms. Nelson from offering any opinion about the

proposed acquisition is that any such opinion would be “enmeshed in” an economic analysis that

                                                 5
        Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 6 of 9




AFA-CWA has shrouded in a claim of privilege. See Greater Newburyport Clamshell All., 838

F.2d at 20. Because Ms. Nelson’s opinion about the purported economic benefits of the proposed

acquisition is based on this undisclosed economic analysis, permitting Ms. Nelson to testify to

that opinion would run counter to the “fairness concerns” that underlay the doctrine of implied

waiver. See In re Keeper of Records, 348 F.3d at 24. Namely, it would allow AFA-CWA to

“kidnap the truth-seeking process” by offering an opinion in support of the acquisition while at

the same time shielding from scrutiny or cross-examination the basis for that opinion. Id. Such

use of the privilege as “both a sword and shield” is prohibited. Rivera, 190 F.R.D. at 304

(internal quotation marks omitted).

       The appropriate remedy for AFA-CWA’s selective disclosure of its purportedly

privileged economic analysis is to preclude Ms. Nelson from offering an opinion about the

proposed deal. See, e.g., Troublé, 179 F. Supp. 2d at 304; see also In re Intuniv Antitrust Litig.,

2021 WL 10362709, at *8-9 (D. Mass. Mar. 3, 2021) (holding that plaintiff may “request . . .

preclusion” of argument and evidence at trial based on purportedly privileged advice “[s]hould

[defendant] put [that] advice at issue”). Disclosing AFA-CWA’s economic analysis on the eve of

trial would not remedy the unfairness to Plaintiffs because Plaintiffs have already been deprived

of the opportunity to cross-examine Ms. Nelson about this analysis at her deposition or to seek

other discovery from AFA-CWA (or Defendants) based on that analysis.

       B.      Ms. Nelson’s Opinion Testimony Would Run Afoul of Rule 701

       Further, even if the economic analysis had been timely disclosed instead of shrouded in

privilege, it would still be appropriate to preclude Ms. Nelson from offering opinion testimony

based on that analysis because such testimony would not satisfy Federal Rule of Evidence 701.

Because Ms. Nelson has not been qualified as an expert and has not disclosed any opinions under

Rule 702, she may only offer opinions under Rule 701. And lay opinions offered under Rule 701
                                                  6
        Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 7 of 9




cannot be “based on scientific, technical, or other specialized knowledge within the scope of

Rule 702.” Fed. R. Evid. 701(c). Performing and opining about economic analysis, however,

requires “scientific, technical, or other specialized knowledge.” See, e.g., United States v.

Frazier, 387 F.3d 1244, 1261 n.14 (11th Cir. 2004) (observing that “[s]cientific evidence

encompasses . . . soft sciences (such as economics, psychology, and sociology), and it may be

offered by persons with scientific, technical, or other specialized knowledge” (quoting William

W. Schwarzer & Joe S. Cecil, “Management of Expert Evidence,” Reference Manual on

Scientific Evidence 39 (Federal Judicial Center, 2d ed.2000)). Any opinion offered by Ms.

Nelson about the proposed acquisition would be inseparable from the economic analysis that

AFA-CWA performed in forming that opinion. Therefore, Ms. Nelson should be precluded

under Rule 701 from offering any such opinion at trial.

       Based on her deposition, Ms. Nelson may also offer testimony on other subjects about

which she lacks personal knowledge or that otherwise implicate the requirements of Rule 701

(e.g., Defendants’ growth strategies, purported benefits to airline employees other than flight

attendants). Should Ms. Nelson’s testimony exceed the bounds of her personal knowledge or

attempt to “proffer[] an expert in lay witness clothing,” Roach, 623 F. Supp. 2d at 145 n.11,

Plaintiffs intend to raise contemporaneous objections.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court preclude Ms.

Nelson from testifying at trial concerning the purported labor benefits of the proposed

acquisition and AFA-CWA’s opinion or analysis of the proposed acquisition.




                                                  7
       Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 8 of 9




Dated: September 11, 2023        Respectfully submitted,

                                 /s/ Edward W. Duffy                          .
                                 Edward W. Duffy
                                 Arianna Markel
                                 Sarah V. Riblet
                                 Brendan Sepulveda
                                 U.S. Department of Justice, Antitrust Division
                                 450 Fifth Street, NW, Suite 8000
                                 Washington, DC 20530
                                 Phone: 202-812-4723
                                 Facsimile: 202-307-5802
                                 E-mail: edward.duffy@usdoj.gov


                                 /s/ William T. Matlack                 .
                                 William T. Matlack (MA Bar No. 552109)
                                 Office of the Attorney General
                                 One Ashburton Place, 18th Floor
                                 Boston, MA 02108
                                 Telephone: (617) 727-2200
                                 Email: William.Matlack@mass.gov


                                 /s/ C. William Margrabe                    .
                                 C. William Margrabe (pro hac vice)
                                 Assistant Attorney General
                                 Office of the Attorney General
                                 400 6th Street NW, Suite 10100
                                 Washington, DC 20001
                                 Telephone: (202) 727-6294
                                 Email: will.margrabe@dc.gov


                                 Attorneys for the United States of America, the
                                 Commonwealth of Massachusetts, and the District of
                                 Columbia, and on behalf of all Plaintiffs




                                      8
        Case 1:23-cv-10511-WGY Document 172 Filed 09/11/23 Page 9 of 9




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

                                           /s/ Edward W. Duffy
                                           Edward W. Duffy
                                           U.S. Department of Justice, Antitrust Division
                                           450 Fifth Street, NW, Suite 8000
                                           Washington, DC 20530
                                           Phone: 202-812-4723
                                           Facsimile: 202-307-5802
                                           E-mail: edward.duffy@usdoj.gov




                                                 9
